              Case 18-15647-AJC      Doc 147    Filed 12/09/19   Page 1 of 2




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

In re:                                                  Case No. 18-15647-AJC
                                                        Chapter 7
         Manuel J. Rojas,

         Debtor,
                                        /

FORMER CHAPTER 7 TRUSTEE’S AND HIS COUNSEL’S LIMITED OBJECTION TO
            CHAPTER 13 TRUSTEE’S MOTION TO DISMISS

               Come Now, Former Chapter 7 Trustee, Barry E. Mukamal, and Former

Chapter 7 Trustee’s Counsel, James B. Miller, Esq., and file and serve the instant

Former Chapter 7 Trustee’s And His Counsel’s Limited Objection To Chapter 13

Trustee’s Motion To Dismiss, and states

         1.    The Debtor filed a voluntary bankruptcy petition under Chapter 7 of Title

               11 of the United States Code on May 11th, 2018.

         2.    On October 8th, 2018, Debtor filed a Motion to Convert Chapter 7 Case to

               a Chapter 13 case (ECF#30), the said motion was set for hearing for

               October 30th, 2018 at 2:00 p.m. (ECF#31); the hearing was continued to

               November 29th, 2018, at 10:30 a.m. (ECF#34).

         3.    Thereafter, the Case was converted to one under Chapter 13 (see

               ECF#40) [the “Conversion Order”).

         4.    The undersigned has noticed that the Chapter 13 Trustee has recently

               filed a Motion to Dismiss (ECF#145) the instant Case.

         5.    The Former Chapter 7 Trustee and his former counsel, (creditors in this

               Case) object to dismissal and demand that should the Court be inclined to

               grant the Motion to Dismiss, that instead the Court honor the terms of the
                 Case 18-15647-AJC              Doc 147        Filed 12/09/19         Page 2 of 2




                  Conversion Order at paragraph 11 therein, which mandates the Case not

                  be dismissed but rather reconverted to one under Chapter 7. See ECF#40

                  at ¶11.

         WHEREFORE, the Former Chapter 7 Trustee and his Counsel respectfully

request an order, to the extent the Case were to be dismissed, rather be converted back

to one under Chapter 7 per the terms of this Court’s Conversion Order (ECF No. 40),

and for such other and further relief this Court deems equitable and just.

     I HEREBY CERTIFY That a true and correct copy of this pleading was served via
ECF Service on this 9th day of December, 2019 upon:

-Robert M Chisholm on behalf of Creditor Florida Community Bank, NA rmc@chisholmlaw.com
-Robert M Chisholm on behalf of Creditor Synchrony Bank rmc@chisholmlaw.com
-Robert M Chisholm on behalf of Creditor Synovus Bank rmc@chisholmlaw.com
-Michael A. Frank, Esq. on behalf of Debtor Manuel J Rojas pleadings@bkclawmiami.com,
bkcpleadings@gmail.com;frankmr48583@notify.bestcase.com
-Neisi I Garcia Ramirez on behalf of Creditor Regions Bank dba Regions Mortgage
FloridaBKLegal@brockandscott.com, FLBKECF@brockandscott.com;WBECF@brockandscott.com
-James B Miller on behalf of Trustee Barry E Mukamal bkcmiami@gmail.com
-Barry E Mukamal on behalf of Trustee Barry E Mukamal
bemtrustee@kapilamukamal.com, FL64@ecfcbis.com
-Nancy K. Neidich e2c8f01@ch13miami.com, ecf2@ch13miami.com
-Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
-Ashley Prager Popowitz on behalf of Creditor Merchants Acquisition Group LLC dba Merchants Credit Solutions
Ashley.popowitz@mccalla.com, flbkecf@mccalla.com.

         I HEREBY CERTIFY that I am admitted to the Bar for the District Court in and for the Southern District of
Florida and am in compliance with the additional qualifications to practice before this Court as set forth in Local Rule
2090-1(A).


         Dated: December 9th, 2019
                                                                Counsel for Former Chapter 7 Trustee
                                                                JAMES B. MILLER, PA
                                                                19 West Flagler Street, Suite 416
                                                                Miami, FL 33130
                                                                Tel. No. (305) 374-0200
                                                                Fax. No. (305) 374-0250
                                                                email: jbm@title11law.com


                                                                __________/s/________________
                                                                JAMES B. MILLER, ESQ.
                                                                Fla. Bar No. 0009164




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